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 PROB 12C                                                                              Report Date: October 2, 2020
(6/16)

                                        United States District Court                                 FILED IN THE
                                                                                                 U.S. DISTRICT COURT
                                                                                           EASTERN DISTRICT OF WASHINGTON

                                                       for the
                                                                                             Oct 02, 2020
                                        Eastern District of Washington                          SEAN F. MCAVOY, CLERK



                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Adrian Laroy Seymore                      Case Number: 0980 2:16CR00211-WFN-1
 Address of Offender: 1430 S Albertt St #2, Airway Heights, Washington 99001
 Name of Sentencing Judicial Officer: The Honorable Wm. Fremming Nielsen, U.S. District Judge
 Date of Original Sentence: November 7, 2017
 Original Offense:        Cyberstalking, U.S.C. §§ 2261A (2)(A) & 2261(b)(5)
 Original Sentence:       Prison - 46 months;                Type of Supervision: Supervised Release
                          TSR - 36 months
 Asst. U.S. Attorney:     James Goeke                        Date Supervision Commenced: February 10, 2020
 Defense Attorney:        Roger Peven                        Date Supervision Expires: February 9, 2023


                                          PETITIONING THE COURT

To issue a warrant.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

            1           Special Condition # 5: You must abstain from the use of illegal controlled substances, and
                        must submit to urinalysis and sweat patch testing, as directed by the supervising officer, but
                        no more than 6 tests per month, in order to confirm continued abstinence from these
                        substances.

                        Supporting Evidence: It is alleged that Adrian Seymore violated the terms of his supervised
                        release by failing to appear for a random urinalysis test at Pioneer Human Services (PHS)
                        on or about September 21 and 30, 2020.

                        On February 10, 2020, supervision commenced in this matter. That same day, he appeared
                        for a supervision intake. The conditions of supervision were reviewed with him. He signed
                        his judgment acknowledging an understanding of the conditions imposed by the Court, to
                        include the above noted special condition number 5.

                        Mr. Seymore entered the Sobriety Treatment and Education Program (STEP) on August 20,
                        2020, at which time he was placed on the color red for random during testing at PHS.

                        Mr. Seymore failed to appear for drug testing at PHS on September 21 and 30, 2020, as
                        required. It should also be noted that on September 24 and 28, 2020, he appeared at PHS
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                 for drug testing, however, was considered a stall as he did not provide a sample prior to
                 departing.


          2      Special Condition # 3: You must undergo a substance abuse evaluation and, if indicated by
                 a licensed/certified treatment provider, enter into and successfully complete as approved
                 substance abuse treatment program, which could include inpatient treatment and aftercare
                 upon further order of the court. You must contribute to the cost of treatment according to
                 your ability to pay. You must allow full reciprocal disclosure between the supervising
                 officer and treatment provider.

                 Supporting Evidence: It is alleged that Adrian Seymore violated the terms of his supervised
                 release by failing to attend substance abuse treatment with PHS on or about September 25,
                 2020.

                 On February 10, 2020, supervision commenced in this matter. That same day, he appeared
                 for a supervision intake. The conditions of supervision were reviewed with him. He signed
                 his judgment acknowledging an understanding of the conditions imposed by the Court, to
                 include the above noted special condition number 3.

                 On September 25, 2020, Mr. Seymore failed to appear for a substance abuse treatment
                 group. When contacted, he indicated he overslept.


          3      Standard condition #2: After initially reporting to the probation office, you will receive
                 instructions from the court or the probation officer about ow and when you must report to
                 the probation officer, and you must report to the probation officer as instructed.

                 Supporting Evidence: It is alleged that Adrian Seymore violated the terms of his supervised
                 release by failing to report to the United States Probation Office as directed, on or about
                 October 1, 2020.

                 On February 10, 2020, supervision commenced in this matter. That same day, Mr. Seymore
                 appeared for a supervision intake. The conditions of supervision were reviewed with him.
                 He signed his judgment acknowledging an understanding of the conditions imposed by the
                 Court, to include the above-noted standard condition number 2.

                 On October 1, 2020, Mr. Seymore appeared for his scheduled STEP session. He was
                 sanctioned to jail time but was allowed the opportunity to self surrender the following day.
                 Mr. Seymore left the courthouse in haste. Due to concerns related to possible drug use and
                 a use of a urine device, the undesigned attempted to have him return to the probation office.
                 Mr. Seymore did not answer the phone. A text message was sent directing him to return to
                 the office. He did not respond, nor did he return to the office as directed.
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The U.S. Probation Office respectfully recommends the Court issue a warrant requiring the offender to appear to
answer to the allegation(s) contained in this petition.

                                        I declare under penalty of perjury that the foregoing is true and correct.
                                                          Executed on:     10/02/2020
                                                                           s/Melissa Hanson
                                                                           Melissa Hanson
                                                                           U.S. Probation Officer



 THE COURT ORDERS
 [ ] No Action
 [ X] The Issuance of a Warrant
 [ ] The Issuance of a Summons
 [ ] Other

                                                                           Signature of Judicial Officer

                                                                            10/02/2020
                                                                           Date
